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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                     (Northern Division)

CITY OF ANNAPOLIS, MARYLAND,

               Plaintiff,
                                                        Civil Action No. 1:21-cv-00772-ELH
v.

BP P.L.C., et al.,

               Defendants.



                                NOTICE OF APPEARANCE

       Please enter the appearance of Ava E. Lias-Booker of McGuireWoods LLP, as counsel

for Defendant American Petroleum Institute, in the above-captioned matter.

Dated: April 7, 2021                       Respectfully submitted,


                                           /s/ Ava E. Lias-Booker
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                                           Counsel for Defendant
                                           American Petroleum Institute
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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on April 7, 2021, a copy of the foregoing Notice of

Appearance was electronically filed and served on all counsel of record via the Court’s CM/ECF

system.




                                           /s/ Ava E. Lias-Booker
                                           Ava E. Lias-Booker




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